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  5   Attorneys for Debtor-In-Possession CLASS
      WAR, INC.
  6

  7

  8                              UNITED STATES BANKRUPTCY COURT
  9                              SOUTHERN DISTRICT OF CALIFORNIA
 10   In re                                               CASE NO. 18-06044-LT11
 11   JESSE DAWBER, an individual,                        Chapter 11
 12                                                       [Jointly Administered with Case No. 19-
                                Debtor-In-Possession.     00293-LT11]
 13

 14   JESSE DAWBER, an individual,                        DECLARATION OF MICHAEL D.
                                                          BRESLAUER REGARDING
 15                                                       ALTERNATIVE ORDER
                             Case No. 18-06044-LT11       APPOINTING EXAMINER
 16

 17   CLASS WAR, INC., a California
      corporation,                                        Date: April 23, 2019
 18                                                       Time: 11:00 a.m.
                             Case No. 19-00293-LT11       Dept: Three (3)
 19
                                                          Honorable Laura S. Taylor
 20                             Debtors.
 21

 22   [X] Affects both Debtors.
      [ ] Affects Class War, Inc. only.
 23   [ ] Affects Jesse Dawber only.
 24
               I, MICHAEL D. BRESLAUER, declare:
 25
               1.        I am over 18 years of age and am duly licensed to practice in the State
 26
      of California, and in the United States District and Bankruptcy Courts for each of
 27
      the Districts in California. I am a partner of Solomon Ward Seidenwurm & Smith,
 28


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  1   LLP (“Solomon Ward”), and am counsel of record in this matter for Debtor-In-
  2   Possession Class War, Inc. (“Debtor”). I have personal knowledge of the facts set
  3   forth in this declaration, and could and would testify thereto if called as witness in
  4   this matter.
  5            2.            Over the past several days, I have been involved reviewing, drafting
  6   and negotiating the terms of an appropriate order appointing an examiner following
  7   the April 23, 2019 hearing on this matter. Unfortunately, consensus was not reached
  8   regarding the form of the Order. Uplinked concurrently herewith is the form of an
  9   order which both Debtors (Jesse Wayne Dawber and Class War, Inc.) and the
 10   United States Trustee believe is appropriate and mindful of the Court’s comments
 11   and intentions with regard to this matter.
 12            I declare under penalty of perjury under the laws of the State of California
 13   and the United States that the foregoing is true and correct of my own personal
 14   knowledge and was executed this 30th day of April 2019 at San Diego, California.
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 17
                                                /s/ Michael D. Breslauer
                                                MICHAEL D. BRESLAUER
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  1                                           PROOF OF SERVICE
  2            I, Wendy A. Yones, declare as follows:

  3           I am employed in the County of San Diego, State of California; I am over the age of
      eighteen years and am not a party to this action; my business address is Solomon Ward
  4   Seidenwurm & Smith, LLP, 401 B Street, Suite 1200, San Diego, CA 92101, in said County and
      State. On April 30, 2019, I served the following document(s):
  5
               DECLARATION OF MICHAEL D. BRESLAUER REGARDING ORDER
  6            APPOINTING EXAMINER
  7   on each of the interested parties as follows:
  8   TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)
      Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing
  9   document will be served by the court via NEF and hyperlink to the document. On April 30, 2019, I
      checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
 10   the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at the
      email address(es) indicated below:
 11
              Christine E. Baur christine@baurbklaw.com, admin@baurbklaw.com
 12           •Michael D. Breslauer mbreslauer@swsslaw.com, wyones@swsslaw.com
              •John W. Cutchin jcutchin@san.rr.com
 13
              •Douglas Flahaut flahaut.douglas@arentfox.com
              •Lauren Nicole Gans lgans@shensonlawgroup.com, jshenson@shensonlawgroup.com
 14
              •Todd S. Garan ch11ecf@aldridgepite.com,
 15            tgaran@aldridgepite.com;TSG@ecf.courtdrive.com
              •Aram Ordubegian ordubegian.aram@arentfox.com
 16           •David Ortiz david.a.ortiz@usdoj.gov,
               USTP.REGION15@USDOJ.GOV;tiffany.l.carroll@usdoj.gov;Elizabeth.C.Amorosi@usdoj.g
 17            ov
              • United States Trustee ustp.region15@usdoj.gov
 18           •Donald A. Vaughn dav@vv-law.com, etopol@vv-law.com
              •Christopher K.S. Wong christopher.wong@arentfox.com
 19
      SERVED BY U.S. MAIL: On April 30, 2019, I served the following person(s) and/or entity(ies)
 20   at the last known address(es) in this bankruptcy case or adversary proceeding by placing a true and
      correct copy thereof in a sealed envelope in the United States Mail, first class, postage prepaid,
 21   and/or with an overnight mail service addressed as follows:
 22   TO BE SERVED BY EMAIL: Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on April 30,
      2019, I served the following person(s) and/or entity(ies) by personal delivery, or (for those who
 23   consented in writing to such service method), by email as follows. Listing the judge here
      constitutes a declaration that personal delivery on the judge will be completed no later than 24
 24   hours after the document is filed.
 25   I declare under penalty of perjury under the laws of the United States of America that the
      foregoing is true and correct.
 26
      Dated: April 30, 2019                           By: /s/ Wendy A. Yones
 27                                                       WENDY A. YONES
 28


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